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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

WILLIE C. GREENE,

      Plaintiff,

v.                                                         No. 2:18-cv-00694-KWR-CG

CORRECT CARE SOLUTIONS, et al.,

      Defendants.


                 ORDER ADOPTING CHIEF MAGISTRATE JUDGE’S
              PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

      THIS MATTER is before the Court on the Chief Magistrate Judge’s Proposed

Findings and Recommended Disposition (the “PFRD”), (Doc. 19), filed September 24,

2020. In the PFRD, the Chief Magistrate Judge recommended that Plaintiff’s Civil Rights

Complaint pursuant to 42 U.S.C. § 1983, (Doc. 1), be dismissed. (Doc. 19 at 1-2). The

parties were notified that written objections to the PFRD were due within fourteen days. Id.

at 2. No objections have been filed and the deadline of October 8, 2020, has passed. The

recommendation of the Chief Magistrate Judge is therefore adopted by this Court.

      IT IS THEREFORE ORDERED that Plaintiff’s Civil Rights Complaint pursuant to 42

U.S.C. § 1983, (Doc. 1), is DISMISSED WITH PREJUDICE.

      IT IS SO ORDERED.




                                         THE HONORABLE KEA W. RIGGS
                                         UNITED STATES DISTRICT JUDGE
